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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                           Chapter 7

    The Art Institute of Philadelphia LLC, et al., Case No. 18-11535 (LSS)

                                Debtors.             Jointly Administered

                       ORDER SCHEDULING OMNIBUS HEARING DATE


                   IT IS HEREBY ORDERED, that the following omnibus hearing date has been

scheduled in the above-captioned matter:

                 DATE                              TIME

          February 18, 2020                        9:30 a.m. Prevailing Eastern Time



                             IT IS HEREBY FURTHER ORDERED that the hearing shall take place at

the United States Bankruptcy Court for the District of Delaware, 824 Market Street, 6th Floor,

Courtroom No. 2, Wilmington, Delaware 19801 before the Honorable Laurie Selber Silverstein.




             Dated: January 17th, 2020                 LAURIE SELBER SILVERSTEIN
             Wilmington, Delaware                      UNITED STATES BANKRUPTCY JUDGE




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